Case 1:19-cv-10463-RA Document 1-3 Filed 11/11/19 Page 1 of 2




                  EXHIBIT “C”
     Case 1:19-cv-10463-RA Document 1-3 Filed 11/11/19 Page 2 of 2

..           DEPARTMENT Of H !-:.ALTH. l:.DUCATION, .1.t~D \', ,:·:._r-;,RC
                               PUllU C t-iLALTH IH.RYICE
                          f'OOO AND C,RUG ADMINISTHATION
                                 'WA.~~U4::l,T(>N.   DC. ,..__
                                  April 10, 1979


      Mr. 0av1d B. Daugherty, President-
      Zfnk &Triest Company, Inc.
      P.O. Box 321
      Montgomeryvflle, Pa. 18938
      Dear Mr. Daugherty:
      This 1s in teply to your 1 et ter of 3/16/79 concerning the use of
      a flavor blend (other natural fiavors) in category J ite cream.
      The definiti6n and standard of fdentfty for ice cr·eam (21 CFR
      135.110) as ft pe~tains to the designation of flavor~ in the
      identity statern~nt for this food was established long before
      the development of the general flavor regulations published under
      21 CFR 101 .22. Consequently, the labeling requirements for the
      declaratfon of flavors in the name of 1ce cream are specifically
      provi'ded for by the standard and is separate and ap1rt from the
      general flavor regulations. Therefore, the standa~d for ice
      cream does not provide for the label designation of "With other
      flavors• (W0NF).
      A product identified as "V~nilla lei Cream" is subject to the
      category I 1ce cream requirements and, ·therefore, must contain
      only the characterizing flavor derived from: vanilla beans .
      We hope this infonnation is helpful. ·

                                                       Sincerely yours.

                                                     <)-.{)~~<,~,~Li_,,
                                                       J. L. Summers
                                                       Assistant to the Director
                                                       Dh.1s1on of Regulatory Guidance
                                                       Bureau of foods




                                     .,,
                                    -).
